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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                              GAINESVILLE DIVISION

  DR. STEPHAN RAMB, IN HIS )
  CAPACITY AS ADMINISTRATOR OF )
  WERNER WICKER'S GEORGIA
  ESTATE, and WICKER, LLC, ) CIVIL ACTION FILE NO.
                                                    )
                            Plaintiffs, ) 2:19-cv-00021-RWS


                                                    j
                                                    ) JURY DEMANDED
                                                    )
  PRABHU PARAMATMA, et al., )
                                                    )
                            Defendants.


                    ORDER GRANTING JOINT MOTION TO DISMISS

              Upon review of the record and for good cause shown, Plaintiffs Dr. Stephan


Ramb, in his capacity as Administrator of Werner Wicker's Georgia Estate (the


"Estate"), and Wicker, LLC ("Wicker, LLC" and together with the Estate, the


"Plaintiffs"), and Defendants Prabhu Paramatma ("Paramatma"), Seema Rawla,


("Rawla"), and Saks Management and Associates, LLC's ("Saks") Joint Motion to


Dismiss claims by and against Paramatma, Rawla and Saks is GRANTED. IT IS


FURTHER ORDERED AND AD JUDGED as follows:




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         (1) As previously set forth in the Consent Order entered July 21, 2021

CDoc. 460Y the Court hereby DECLARES that the Estate is the sole owner and

member of Wicker, LLC, and that the Estate has the sole right and authority to vote

the membership interests and to manage Wicker, LLC. Paramatma does not have


any rights, claim or interest whatsoever in Wicker, LLC, the River Property, the


Redding Property and/or Westminster Apartments.



         (2) Plaintiffs' other claims against Paramatma, and Paramatma's


counterclaims against Plaintiffs, are hereby DISMISSED WITH PREJUDICE.


             (3) Plaintiffs' claims against Rawla and Saks are hereby DISMISSED

WITH PREJUDICE. Rawla and Saks have not asserted any counterclaims in this


case.




             IT IS FURTHER ORDERED that this order shall have no effect on any other

parties in this action including but not limited to Plaintiffs' claims against the

remaining Defendants.


                                    ^
             SO ORDERED this U day of ^^ ^21.
                                                                                ^-


                                                      tUCHA^D W. Str5RY
                                                      United States District Judge




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